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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Norfolk Division


JOSEPH H. ANDREANA,
              on behalf of himself and all others
              similarly situated

               Plaintiff,

V.                                                           CIVIL ACTION NO.2;17-cv-574


VIRGINIA BEACH CITY PUBLIC
SCHOOLS,

and


SCHOOL BOARD OF THE CITY OF
VIRGINIA BEACH.


               Defendants.


                            MEMORANDUM OPINION AND ORDER


       This Order stems from Plaintiff Margaret S. Marcotte's ("Marcotte") Response to this

Court's January 14, 2019 Order. In that Order, the Court directed Marcotte's Counsel to inform

the Court whether Marcotte would continue to pursue her disparate treatment claim in this instant

collective action, or if she wishes to do so in her individual lawsuit captioned as Marcotte v.

School Board ofthe City of Virginia Beach, 2:17-cv-606, which she filed in the same United

States District Court before the Honorable Chief Judge Mark S. Davis. ECF No. 73. On January

24, 2019, Marcotte's Counsel filed a response to the January 14, 2019 Order, in which he states

that Marcotte will not make either election but continue in both suits. See ECF No. 76 at 3. For


the reasons stated below, given Marcotte's refusal to make an election, despite a court order to

do so, the Court DISMISSES Marcotte as a plaintifffrom the instant lawsuit. She may pursue

her claims in her individual lawsuit.
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                  I.     FACTUAL AND PROCEDURAL BACKGROUND

       This action stems from a series of allegations of age discrimination against Virginia

Beach public schools. See generally ECF No. 1. Named plaintiff Joseph Andreana

("Andreana")claims that in 2015, Virginia Beach City Public Schools and the School Board of

Virginia Beach ("Defendants")informed all 104 Computer Resource Specialist("CRS")

employees that the position would cease to exist, and Defendants would create only eighty-four

Information Technology Specialist("ITS") positions. Id. Defendants allegedly required all

former CRSs to reapply to the new ITS positions, directly competing with other employees and

the general public. Id. Ofthe 104 former CRSs, ninety-nine ofthem applied to be ITSs, while

there were 100 other applicants. M at ^ 11.

       Defendants used a "screening and evaluation process and policy" in selecting candidates

for the ITS positions. Id. Plaintiffs claim that this process and policy was willfully

discriminatory because it disregarded older candidates in favor of younger ones. Id. at     12, 26.

Plaintiffs allege that Defendants selected individuals for the ITS position based on age, even

though Plaintiffs allegedly were better qualified and met all expectations in carrying out their

duties as CRSs. Id. at    16-19. As a result of this alleged discrimination. Plaintiffs allegedly

were forced to accept positions with Defendants at lower pay or retire. Id. at    20-22.

       Andreana filed his Complaint for this collective action on behalf of himself on November

7, 2017. Andreana alleged three claims under the Age Discrimination in Employment Act of

1967("ADEA"): disparate treatment, disparate impact, and pattem and practice discrimination.

Id. at 11^3^7.

       On November 20, 2017, Marcotte filed her individual action. Marcotte, ECF No. 1.

Marcotte alleges claims for disparate treatment, disparate impact, and retaliation under the
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ADEA for similar conduct from 2015 through 2017. Id. at         30-46. On January 2,2018,

Marcotte amended her Complaint. ECFNo. 12. In her Amended Complaint, Marcotte dropped

her disparate impact claim but continued with the two other claims. Id. at Tn|31-41. The same

attorney represents both Andreana's collective action and Marcotte's individual action

("Counsel").

       On May 9, 2018,the Court issued two Orders in the instant case. Andreana, ECF Nos.

30-31. In its first Order, the Court conditionally certified the collective action under 29 U.S.C. §

216(b). ECF No. 30 at 8-9. In its second Order, the Court granted in part Defendant's motion to

dismiss after finding that it did not have subject matter jurisdiction over the pattern and practice

discrimination claim, but keeping the disparate treatment and disparate impact claims intact.

ECF No. 31 at 6-10. On May 23, 2018,the Court approved Andreana's collective action notice.

ECF No. 32. All additional plaintiffs needed to file their notices to opt in by August 21, 2018.

See ECF No. 31 at 9. Marcotte joined the collective action to pursue her 2015 disparate

treatment and disparate impact claims on June 4,2018. ECF No. 36 at ^ 1.

       On September 14, 2018, Counsel filed Motions to Consolidate in both cases. Andreana,

ECF Nos. 56-57; Marcotte, ECF Nos. 24-25. In these motions, Counsel sought to consolidate

Marcotte's 2015-2017 disparate treatment claim in her individual action with the instant

collective action, while still allowing Marcotte's 2015-2017 retaliation claim to continue in the

individual action. See Andreana, ECF No. 56 at 1. On December 17, 2018, the Court denied the

Motion in the Andreana case because this consolidation would be claim splitting. ECF No. 63 at

3. On January 2,2019, Chief Judge Davis denied the Motion in the Marcotte case based on the

reasoning of the December 17, 20\% Andreana Order. Marcotte, ECF No. 34 at 4-5.
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       On December 31, 2018, Defendants filed a letter with the Court, in which they informed

the Court that Marcotte has refused to choose whether to pursue her claims in one action or the

other. ECF No. 73. On January 14, 2019, the Court issued an order in the Andreana collective

action that directed Marcotte to elect within ten days whether she wished to pursue her disparate

treatment claim in the collective and therefore drop the claim from her individual action, or if she

wished to drop out of the collective action and pursue her disparate treatment claim in her

individual action. Andreana, ECF No. 73. On January 24,2019, Counsel filed Marcotte's

response and indicated that consolidating the claims was not claim splitting. ECF No. 76 at 2.

Counsel stated that Marcotte refuses to "make a forced election" and will continue pursuing her

disparate treatment claim in both actions. ECF No. 76 at 3. Counsel has filed neither a motion

for reconsideration under Federal Rule of Civil Procedure 54(b) nor a notice of appeal under

Federal Rule of Appellate Procedure 4(b) with respect to either the Andreana December 17,

2018 Order or the Marcotte January 2, 2019 Order.

                                II.    LEGAL STANDARDS


A. Multiple Actions and First-To-File

       Two general tenets of federal civil litigation are relevant. First, a plaintiff generally has

"no right to maintain two separate actions involving the same subject matter at the same time in

the same court and against the same defendant." Walton v. Eaton Corp., 563 F.2d 66, 70(3d Cir.

1977). Second, the "first-to-file" rule suggests that courts should generally dismiss the

subsequent action in favor ofthe lawsuit that was initially filed. Ellicott Mach. Corp. v. Modern

Welding Co., Inc., 502 F.2d 178, 180 n.2(4th Cir. 1974); Byerson v. Equifax Info. Servs., LLC.,

467 F. Supp. 2d 627,635-36(E.D. Va. 2006). Under the first-to-file rule, the cases "need not be
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identical if there is substantial overlap with respect to the issues and parties." Id. (citing Save

Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947,950(5th Cir. 1997)).



B. Collective Actions under 29 U.S.C.§ 216(b)

       Section 216(b)of Title 29 of the United States Code originates from the Fair Labor

Standards Act(FLSA). See 52 Stat. 1060, 1069. A collective action under the ADEA is pursued

under 29 U.S.C. § 216(b). 29 U.S.C. § 626(b). Under this statute, named plaintiffs may pursue

their claims under a "dual theory"; they may pursue claims both as an individual action and as a

collective action within the same complaint if they are explicit about this desire. See Smith v.

Cent. Sec. Bureau, Inc., 231 F. Supp. 2d 455,460-62(W.D. Va. 2002); see also Gordon v. TEC

Retail Grp, Inc., No. 2:14-cv-3365, 2016 WL 4247738, at *11-14(D.S.C. Aug. 11, 2016);

Faust V. Comcast Cable Commc'ns Mgmt., LLC.,No. WMN-10-2336,2013 WL 5587291, at

*7-*8(D. Md. Oct. 9, 2013).

       Collective actions are creatures ofjudicial economy that allow plaintiffs to band together

and streamline their cases rather than filing hundreds of separate individual actions. Prickett v.

DeKalb Cnty., 349 F.3d 1294, 1297(11th Cir. 2003); Mayhew v. Loved Ones in Home Care,

LLC,No. 2:17-cv-3844, 2018 WL 68616073, at *3-*4(S.D.W. Va. Dec. 27, 2018). In this

sense, collective actions under § 216(b) are somewhat similar to class actions under Federal Rule

of Civil Procedure 23. Oldershaw v. DaVita Healthcare Partners, Inc., 255 F. Supp. 3d 1110,

1113(W.D. La. 2017). However, these two forms of lawsuit differ in that "a named plaintiff in

a[ collective] action has no interest in the collective action beyond [his or] her individual claim

because no separate legal entity is created ...[, while a class action] creates a 'plaintiff class'

which is then represented by the named plaintiff and plaintiffs counsel." Id. In other words.
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while class actions function by homogenizing every potential plaintiff into a single legal entity

that the named plaintiff represents, in a collective action "every named and *opt-in' plaintiff

pursues his or her individual claim.'" Id.        Almanzar v. Ci&IAssocs., Inc.., 175 F, Supp. 3d

270, 279 n.3(S.D.N.Y. 2016)).

                                     III.    DISCUSSION

       As an initial matter, the Court notes that Counsel continues to argue that there is no claim

splitting between the Andreana and Marcotte actions in spite of the finding of two judges in this

Court. See ECF No. 76 at 2-3. However,the Court reminds Counsel that if he believes there is

any form of error in the Court's Orders, a motion for reconsideration or an appeal are the

appropriate avenues for challenging these Orders. What is not proper is to openly reject and defy

the Court's Order without following the appropriate procedure.

       Furthermore, Counsel states the Marcotte opted into the collective action only for the

disparate impact claim, not her disparate treatment claim. Id. at 2. This is patently false as

Marcotte's consent notice in the Andreana case states that she "hereby consent[s], agree[s], and

opt[s]-in to the lawsuit...to pursue my claimsfor disparate treatment, disparate impact, and

pattern and practice discrimination based on age." ECF No. 36 at ^ 1 (emphasis added).

Marcotte's consent clearly states she is pursuing her claims for disparate treatment and disparate

impact, even if Counsel seems to disagree.

       In fact, even if Marcotte indeed opted in to the collective action just for her disparate

impact claim, while she continued to pursue her disparate treatment claim in her individual

action, that would still be claim-splitting. See Sensormatic Sec. Corp. v. Sensormatic Elecs.

Corp., 273 F. App'x 256, 264-65 (4th Cir. 2008). To refresh Counsel's recollection, claim-

splitting '"prohibits a plaintiff from prosecuting its case piecemeal and requires that all claims
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arising out of a single wrong be presented in one action."' Id. (quoting Myers v. Colgate-

Palmolive Co., 102 F. Supp. 2d 1208,1224(D. Kan. 2000)). If the plaintiff has one suit pending

in federal court, he or she "has no right to assert another action 'on the same subject in the same

court, against the same defendant at the same time.'" Id. at 265 (quoting Curtis, v. Citibank,

N.A., 226 F.3d 133, 139(2d Cir. 2000)). This will result in the second action being barred if the

claims in it "involve[] the same parties and 'arise[] out of the same transaction or series of

transactions as the first claim.'" Id. (quoting Trustmark Insur. Co. v. ESLU, Inc., 299 F.3d 1265,

1269-70(11th Cir. 2002)). Marcotte's disparate treatment and disparate impact claims center

around the same subject matter—^Defendants' age discrimination in not re-hiring her as an ITS.

Any suggestion from Counsel that there is no claim-splitting between these two cases directly

contravenes clearly established case law on the doctrine.

       As to whether Marcotte should remain in the collective action or in her individual action,

Marcotte filed her individual action on November 20, 2017 but did not join the collective action

until June 4, 2018. Upon opting-in to the collective action, Marcotte established her own

independent action against Defendants. See Oldershaw,255 F. Supp. 3d at 1113 (citing

Almanzar v. C&IAssocs., Inc., 175 F. Supp. 3d 270,279 n.3(S.D.N.Y. 2016)), Marcotte cannot

pursue two separate actions on disparate treatment, not only because that would contradict the

fundamentals of civil litigation, see Walton, 563 F.2d at 70, but also because that would

undermine the core of collective actions. See Prickett, 349 F.3d at 1297. Section 216(b)cannot

allow each opt-in plaintiff to join the collective action and then pursue an independent individual

action, otherwise the whole point of a collective action is for naught. See id. Therefore, because

Marcotte currently "maintain[s] two separate actions involving the same subject matter at the

same time in the same court and against the same defendant," Walton, 563 F.2d at 70,the first-
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to-file doctrine suggests the Court should dismiss Marcotte from the collective action since her

individual action was filed first. Ellicott Mack,502 F.2d at 180 n.2.

           Such judicial action would arguably contradict the concern for judicial economy that

support the existence of collective actions. See Prickett, 349 F.3d at 1297. However,judicial

economy is not the sole concem ofthe Court, and the Court has broad discretion to manage its

own docket. See United States v. Goodson,204 F.3d 508, 514(4th Cir. 2000). If Marcotte were

to remain in the collective action and had to drop her disparate treatment claim from her

individual action, she would only be able to pursue such claims for the 2015 year and would be

barred by resjudicata from pursuing her 2016 and 2017 claims. Allowing her to pursue the

disparate treatment claim in her first-filed individual action would allow her to pursue her claim

for all three years. The Court understands that there will be two cases with overlapping subject

matter before it. However, Marcotte would now only be involved in one action, so there will be

no duplicitous production of discovery and other filings that relate to her specific claims.

Judicial economy must sometimes bend towards the equitable discretion the Court possesses

over managing its docket.

                                      IV.    CONCLUSION

       For the reasons set forth above, Plaintiff Marcotte is hereby DISMISSED from this

collective action. She may any and all available claims in her individual action that is also

pending before this Court. The Court DIRECTS the Clerk to provide a copy of this Order to the

parties.



IT IS SO ORDERED.


Norfolk, Virgima                                                    Raymond A.Jacl^
February// ,2019
February//                                                          United Slates Distfctliii^
